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                                                                    Monday, 13 April, 2020 11:42:46 AM
                                                                         Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS
                                 URBANA DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff,
                                                               No. 07-20043
                v.

 FREDDELL BRYANT,

        Defendant.

                     MOTION FOR REDUCED SENTENCE UNDER
                      SECTION 404(b) OF THE FIRST STEP ACT

       The Defendant, Freddell Bryant, by his attorney, Thomas W. Patton, files this

Motion for a Reduced Sentence under Section 404(b) of the First Step Act.1

       I.      Background

       The Fair Sentencing Act of 2010, Pub. L. 111-220, 124 Stat. 2372 (Aug. 3, 2010),

amended 21 U.S.C. § 841(b)(1)(A) and (b)(1)(B) to increase the amount of crack cocaine

required to enhance the statutory minimum and maximum sentences for a violation of

21 U.S.C. § 841(a)(1). Before the Act, an offense involving 50 grams or more of crack

cocaine triggered a 10-year mandatory minimum and a statutory maximum penalty of

life imprisonment, and an offense involving 5 grams of crack cocaine triggered a 5-year

mandatory minimum sentence and a statutory maximum of 40 years of imprisonment.



1 On March 2, 2020, counsel received a letter from Mr. Bryant stating that Mr. Bryant intended

to file his own motion for a reduced sentence after the Seventh Circuit issues its opinion in
United States v. Shaw, et al., Nos. 19-2067, 19-2069 & 19-2078 (7th Cir.). Since Mr. Bryant
has not asked the Court to proceed pro se and the Court has directed counsel to file a motion
by Wednesday, April 15, 2020, counsel files this motion.


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Dorsey v. United States, 567 U.S. 260, 266 (2012); 21 U.S.C. § 841(b)(1)(A)(iii), (B)(iii)

(2006).

          Section 2 of the Fair Sentencing Act amended § 841(b)(1)(A)(iii) by striking 50

grams and inserting 280 grams and amended § 841(b)(1)(B)(iii) by striking 5 grams and

inserting 28 grams. Public Law 111-220; 124 Stat. 2372, § 2. So it now takes 280 grams of

crack to trigger § 841(b)(1)(A)(iii)’s 10-year mandatory minimum and 28 grams of crack

to trigger § 841(b)(1)(B)(iii)’s 5-year mandatory minimum. Dorsey, 567 U.S. at 269. The

Supreme Court determined the Fair Sentencing Act applied to any defendant who had

not been sentenced as of the Act’s effective date of August 3, 2010. Id. at 281. The Act

did not apply retroactively to defendants sentenced prior to August 3, 2010. Id.

          In December 2018, the president signed the First Step Act of 2018, Pub. L. 115-

391, 132 Stat. 5194 (Dec. 21, 2018). Section 404 of that Act makes retroactive the changes

that the Fair Sentencing Act made to the crack provisions of § 841(b)(1)(A) and (B) by

permitting courts to reduce prisoners’ sentences accordingly.

          Section 404(b) of the First Step Act directs that “[a] court that imposed a sentence

for a covered offense may … impose a reduced sentence as if sections 2 and 3 of the Fair

Sentencing Act of 2010 were in effect at the Louise the covered offense was committed.”

A “covered offense” is defined under section 404(a) as “a violation of a Federal criminal

statute, the statutory penalties for which were modified by section 2 or 3 of the Fair

Sentencing Act of 20102 that was committed before August 3, 2010.”



2Section 3 of the FSA eliminated the mandatory minimum sentence for simple possession of crack
cocaine in 21 U.S.C. § 844(a).


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       Section 404(c) places only two limitations on a court’s ability to impose a reduced

sentence. First, if the defendant’s sentence was imposed or previously reduced in

accordance with the amendment made by sections 2 and 3 of the Fair Sentencing Act,

the defendant cannot receive a reduced sentence. Second, if the Court has already

rejected a motion filed under § 404 of the First Step Act “after a complete review of the

motion on the merits,” the defendant cannot ask for a second bite at the apple.

       II.    Mr. Bryant is eligible for a reduced sentence

       On April 4, 2007, a four-count indictment was filed against Mr. Bryant in the U.S.

District Court. PSR ¶ 1. Count 1 charged Mr. Bryant with conspiracy to distribute 500 or

more grams of cocaine and 50 or more grams of cocaine base in violation of 21 U.S.C. §§

846, 841(a) and 841(b)(1)(A). Count 2 charged Mr. Bryant with possession of 500 grams

or more of cocaine with the intent to distribute. 21 U.S.C. § 841(a) and 841(b)(1)(B).

Count 3 charged Mr. Bryant with possession of a firearm in furtherance of a controlled

substance offense. 18 U.S.C. § 924(c). And Count 4 charged Mr. Bryant with being a

felon in possession of a firearm. 18 U.S.C. § 922(g). PSR ¶ 1. Mr. Bryant pled guilty to

Counts 1, 2, and 3 of the indictment on March 24, 2009, pursuant to a written plea

agreement. PSR ¶ 4.

       On February 13, 2009, the government filed a notice to use two prior convictions

to enhance Mr. Bryant’s mandatory minimum sentence pursuant to 21 U.S.C. § 851. PSR

¶ 3. Thus, under the law at the time, Mr. Bryant faced a mandatory minimum sentence

of life imprisonment on Count 1, ten years to life imprisonment on Count 2, and five

years to life on Count 3, to run consecutively on Counts 1 and 2. PSR ¶¶ 109-111.


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       Mr. Bryant’s guideline range was based on the Drug Quantity Table. PSR ¶ 41. In

total he was found to be responsible for 10.2 kilograms of crack cocaine and 87.5

kilograms of powder cocaine, which resulted in a marijuana equivalency of 221,500

kilograms and a base offense level of 38. PSR ¶ 31. The base offense level was enhanced

under Section 3B1.1 because Mr. Bryant was a leader/organizer of the criminal activity,

resulting in a four-level enhancement. PSR ¶ 44. Therefore, his adjusted offense level

was 40. PSR ¶ 50.

       Mr. Bryant was found to have a criminal history category of VI. PSR ¶ 66. Thus,

with a total offense level of 40, and a criminal history category VI, Mr. Bryant’s

Guidelines range was 360 months to life imprisonment. This was increased to life

imprisonment given the mandatory minimum of life on Count 1. PSR ¶ 112.

       At Mr. Bryant’s sentencing, the government made a motion under 18 U.S.C. §

3553(e) for a downward departure from the mandatory minimum of life.3 Mr. Bryant

was then sentenced to a term of 240 months imprisonment on Counts 1 and 2, to run

consecutively to 60 months on Count 3, for a total sentence of 300 months

imprisonment, to be followed by a ten year term of supervised release. R. 74.

       Mr. Bryant is eligible for a reduced sentence under section 404 of the First Step

Act. The court imposed the original sentence for a “covered offense” because Mr.

Bryant committed the offense before August 3, 2010, and the statutory penalty for




3Because this motion discusses Mr. Bryant’s cooperation, and widespread knowledge of that
cooperation could put Mr. Bryant in danger in the Bureau of Prisons, he asks that this motion
be filed under seal.


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distribution of 50 or more grams of crack under section 841(b)(1)(A) was modified by

section 2 of the Fair Sentencing Act.

       Section 404(b) of the First Step Act permits a court to “impose a reduced sentence

as if sections 2 and 3 of the Fair Sentencing Act of 2010 were in effect at the time the

covered offense was committed.” The court thus has the authority to impose a reduced

sentence as if section 2 of the Fair Sentencing Act was in effect at the time the offense

was committed.4

       III.   The Court should reduce Mr. Bryant’s prison term to reflect a
              Guidelines range of 360 months, minus the value of the government’s
              motion for downward departure under U.S.S.G. § 5K1.1.

       Under the Fair Sentencing Act, part of Mr. Bryant’s offense of conviction under

Count 1—conspiracy to possess with intent to distribute and to distribute 50 or more

grams of crack cocaine—would be punishable by imprisonment of 10 years to life. 21

U.S.C. § 846; 21 U.S.C. § 841(b)(1)(B).




4 To the extent that the government will argue that Mr. Bryant did not commit a “covered
offense,” that argument will likely be resolved by United States v. Shaw, et al., Nos. 19-2067,
19-2069 & 19-2078 (7th Cir.). Shaw was argued in mid-December 2019 but the Seventh
Circuit has not yet issued a decision. However, four courts of appeals have in published
decisions agreed with Mr. Bryant’s legal position. United States v. Wirsing, 943 F.3d 175 (4th
Cir. 2019); United States v. Jackson, 945 F.3d 315 (5th Cir. 2019); United States v. Beamus,
943 F.3d 789 (6th Cir. 2019); United States v. McDonald, 944 F.3d 769 (8th Cir. 2019). Under
those cases, Mr. Bryant committed a “covered offense” and so is eligible for a sentence
reduction. Moreover, on March 31, 2020, this Court issued an Order in case 01-CR-20035 that
appears to have rejected the government’s argument that because the offense still involves over
280 grams cocaine Mr. Bryant is ineligible for a First Step Act reduction. Although the Court
declined to reduce the defendant’s term of incarceration in case 01-CR-20035, the Court
appears to have done so based on its discretionary authority to grant or deny a First Step Act
reduction. This conclusion is supported by the fact that the Court did agree to reduce the term
of supervised release in case 01-CR-20035 despite the government’s extensive objection that
the defendant was ineligible because his offense involved more than 280 grams of crack
cocaine. Accordingly, to the extent that the government may argue that Mr. Bryant is ineligible
for a reduced sentence because his offense involved more than 280 grams of crack cocaine,
that argument should be rejected.


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       His Guidelines range would also be reduced. His Guidelines range should have

been 360 months to life imprisonment, but it was increased to life imprisonment due to

the application of the statutory mandatory minimum on Count 1. PSR 112. Had the

mandatory minimum of life imprisonment not applied, it is reasonable to assume based

on the government’s normal practice and procedure in cases involving substantial

assistance by a defendant that the departure motion would have been made under

U.S.S.G. § 5K1.1 as opposed to 18 U.S.C. § 3553(e), and the calculation would have

started at the low end of the Guidelines range, i.e. 360 months. In the present case, the

Court should therefore impose a reduced sentence of 360 months minus the value of the

cooperation departure made by the government at the original sentencing in this case.

Mr. Bryant was 32 years old when he was sentenced. According to the 2010 life

expectancy tables published by the Centers for Disease Control and Prevention, as a 32-

year-old black male, Mr. Bryant had a life expectancy of 43.3 years. That translates to

519 months. That was what a life sentence meant to Mr. Bryant when he was sentenced.

A reduction to 300 months represents a 58% reduction. A comparable reduction from a

total sentence of 420 months (360 + 60) would be 239.4 months.

       Due to Mr. Bryant’s eligibility for a reduction, Mr. Bryant believes that a total

sentence of 240 months (a 60 month reduction) is reasonable and appropriate. A total

sentence of 240 months would represent a sentence of 180 months on Counts 1 and 2; 60

months higher than Mr. Bryant’s current statutory mandatory minimum term of

imprisonment. Additionally, a sentence of 240 months still takes into account the




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mandatory consecutive sentence of 60 months that Mr. Bryant is required to serve

under Count 3. This reduction is consistent with Judge McCuskey’s original sentence.

       It is worthwhile for the Court to consider the First Step Act eliminated

mandatory life sentences under 21 U.S.C. § 841(b)(1)(A). First Step Act, §

401(a)(2)(A)(ii). Now, a violation of 21 U.S.C. § 841(b)(1)(A) after 2 or more prior

convictions for a serious drug felony have become final results in a mandatory

minimum of 25 years, not life imprisonment. Id. So, if Mr. Bryant were sentenced today

he would not face a mandatory sentence of life.

       The First Step Act’s changes to § 841(b)(1)(A) are not retroactive, so the Court

cannot independently reduce Mr. Bryant’s sentence based on that change. But

Congress’ decision that mandatory life in drug cases is bad policy is surely relevant to

the Court’s determination of whether or not the § 3553(a) factors warrant relief.

       IV.    The Court should reduce Mr. Bryant’s term of supervised release from
              10 years to 8 years

       Mr. Bryant’s sentence currently includes a 10 year term of supervised release on

Count 1. That term should be reduced to 8 years after the Fair Sentencing Act, to run

concurrently with the 8 year term of supervised release imposed on Count 2, and the 5

year term of supervised release imposed on Count 3. 21 U.S.C. § 841(b)(1)(B).




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                                          Respectfully submitted,

                                          FREDELL BRYANT
                                          Defendant

                                          BY:    /s/ Thomas W. Patton
                                                 Federal Public Defender
                                                 401 Main Street, Suite 1500
                                                 Peoria, Illinois 61602
                                                 Telephone: (309) 671-7891
                                                 Facsimile: (309) 671-7898
                                                 Email: Thomas_Patton@fd.org

                              CERTIFICATE OF SERVICE

      I hereby certify that on April 13, 2020, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system.

                                          /s/ Thomas W. Patton
                                          THOMAS W. PATTON
                                          Federal Public Defender




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